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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


  BABY DOE, et al.,                                   )
                                                      )
                 Plaintiffs,                          )
                                                      )
  v.                                                  )      Case No. 3:22-cv-49-NKM
                                                      )
  JOSHUA MAST, et al.,                                )
                                                      )
                 Defendants,                          )
                                                      )
  and                                                 )
                                                      )
  UNITED STATES SECRETARY OF                          )
  STATE ANTONY BLINKEN, et al.,                       )
                                                      )
                 Nominal Defendants.                  )
                                                      )

        [PROPOSED] ORDER GRANTING DEFENDANTS JOSHUA AND STEPHANIE
                   MAST’S MOTION TO FILE THEIR UNREDACTED
                 MEMORANDUM IN SUPPORT OF THEIR MOTION TO
        DISMISS THE COMPLAINT AND ACCOMPANYING EXHIBITS UNDER SEAL

          This matter is before the Court on Defendants Joshua and Stephanie Mast’s Motion to File

  Their Unredacted Memorandum in Support of Their Motion to Dismiss the Complaint and

  Accompanying Exhibits Under Seal, in which the Masts request the entry of an order allowing

  them to file the unredacted version of their Memorandum in Support of their Motion to Dismiss

  under seal as well as several exhibits accompanying the Memorandum. Having established

  grounds for sealing that information, the Court ORDERS Joshua and Stephanie Mast’s Motion to

  File Their Unredacted Memorandum in Support of Their Motion to Dismiss the Complaint and

  Exhibits 1 through 7 attached to that Memorandum to be SEALED in perpetuity.

          Accordingly, the Masts’ motion to seal will be and hereby is GRANTED.
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        It is so ORDERED.

        The Clerk of Court shall send a certified copy of this Order to all counsel of record.
